10

11

12:

13
14
15
16
17
18
19
20
21
(22
23
24
25
26
27

28

UNITED STATES OF AMERICA,

Case 2:20-cr-00165-ODW Document1 Filed 03/26/20 Page1of5 Page ID #1

 

UNITED STATES DISTRICT COURT.

 

Plaintiff, | INFORMATION

Vv. [18 U.S.C. § 666(a) (1) (B): Federal
Program Bribery]
RICARDO PACHECO,

Defendant.

 

 

 

The United States Attorney charges:

[18 U.S.C. § 666(a) (1) (B)]

A. INTRODUCTORY ALLEGATIONS

 

At times relevant to this Information:
1. The City of Baldwin Park, California (the “City”) was a

local government located within Los Angeles County in the Central

District of California. The City received in excess of $10,000 under

federal programs for 2018.
2. The City was governed, in part, by its City Council, which
adopted legislation, set policy, adjudicated issues, and established

the budget for the City.

 

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23

24
25
26
27

28

 

 

Case 2:20-cr-00165-ODW Document 1 Filed 03/26/20 Page 20f5 Page ID #:2

3. The City Council was comprised of four City Council
members and a Mayor, all of whom were elected at large by the City’s
registered voters. |

4. Defendant RICARDO PACHECO was first elected to the City
Council in 1997 and currently holds that elected position. He also
previously served as the City’s Mayor Pro-Tem. As a result of his
position as councilman, defendant was an agent of the City.

3. ‘Police Officer A was a City police officer and a member of
the City’s Police Association. The Police Association was the union
representing the City’s police officers and engaged in negotiations
with the City Council and City administrators.

6. The City’s contract with the City’s Police Association was
valued at least $4.4 million for a three-year period, and provided
that the City would continue to employ the Police Association's
members, namely, the unionized members of the City’s Police
Department, and provide for the creation of additional positions and
pay increases for officers with certain education experience.

B. | THE BRIBERY

7. Beginning in or about’ January 2018 and continuing to on or
about October 17, 2018, in Los Angeles County, within the Central.
District of California, defendant PACHECO, an agent of the City of
Baldwin Park, corruptly solicited, demanded, accepted, and agreed to
accept things of value from Police Officer A, namely, $20,000 in cash
and $17,900.in checks to a charity and to political action committees
over which defendant PACHECO exerted control, intending to be

influenced and rewarded in connection with a business, 7

///

 
10

11
12
13
14
15
16
17
18

19
20
21
22
23
24
25

26

27

28°

 

 

‘Case 2:20-cr-00165-ODW Document 1 Filed 03/26/20 Page 3o0f5 Page ID #:3

transaction, and series of transactions of the City having a value of
$5,000 or more, specifically, the City’s contract with the City’s

Police Association.

 
10
Li
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

 

Case 2:20-cr-00165-ODW Document1 Filed 03/26/20 Page 4of5 Page ID #:4

FORFEITURE ALLEGATION
[18 U.S.C. § 981(a) (1) (C) and 28 U.S.C. § 2461 (c)]

1. Pursuant to Rule 32.2 of the Federal Rules of Criminal
Procedure, notice is hereby given that the United States of America
will seek forfeiture as part of any sentence, pursuant to Title 18,
United States Code, Section 98i(a)(1)(C) and Title 28, United States
Code, Section 2461(c), in the event of the defendant's conviction of
the offenses set forth in this Information.

2. The defendant, iff so convicted, shall forfeit to the United
States of America the following:

(a) All right, title and interest in any and all property,

real or personal, constituting, or derived from, any proceeds

traceable to any such offense; and

(bo) To the extent such property is. not available for

‘forfeiture, a sum of money equal to the total value of the property

described in subparagraph (a).

3. Pursuant to Title 21, United States Code, Section 853 (p), as
incorporated by Title 28, United States Code, Section 2461(c), the
defendant shall forfeit substitute property, up to the total value of
the property described in the preceding paragraph if, as the result
of any act or omission of the defendant, the property described in
the preceding paragraph, or any portion thereof: (a) cannot be
located upon the exercise of due diligence; (b) has been transferred,

sold to or deposited with a third party; (c) has been placed beyond

//
//

 

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

 

Case 2:20-cr-00165-ODW Document1 Filed 03/26/20 Page5of5 Page ID#:5

the jurisdiction of the court; (d)

has been substantially diminished

in value; or (e) has been commingled with other property that cannot

be divided without difficulty.

NICOLA T. HANNA
United States Attorney

BRANDON D. FOX
Assistant United States Attorney
Chief, Criminal Division

MACK E. JENKINS

Assistant United States Attorney
Chief, Public Corruption and
Civil Rights — Section

DANIEL J. O'BRIEN

Assistant United States Attorney
Deputy Chief, Public Corruption
and Civil.Rights Section

THOMAS F. RYBARCZYK

Assistant United States Attorney
Public Corruption and Civil
Rights Section

 

 

 
